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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

JEANNE OLSON, as Trustee of the                       )
William Amor Trust for WILLIAM E. AMOR,               )
deceased,                                             )       18-CV-02523
             Plaintiff,                               )
                                                      )       Judge John J. Tharp, Jr.
       v.                                             )
                                                      )
REBECCA GOMEZ, as Special Representative              )
for MICHAEL CROSS, deceased; ROBERT                   )
GUERRERI; BRIAN CUNNINGHAM;                           )
and THE CITY OF NAPERVILLE,                           )
            Defendants.                               )

                     DEFENDANTS’ MOTION IN LIMINE TO ADMIT
                         FOUR REPORTS AS NON-HEARSAY

       Defendants, by and through their undersigned counsel, move to admit the following

defense exhibits into evidence as non-hearsay: 25-Y, pages 7 and 8 of 25-H, 25-W, and 25-Z. In

support, Defendants state:

       “[E]vidence is only hearsay if it is ‘offered to prove the truth of the matter asserted.’”

Zamboni v. R.J. Reynolds Tobacco Co., 96 Fed. R. Evid. Serv. 455, 2015 WL 221150, at *3

(M.D. Fla. Jan. 13, 2015) (quoting Fed. R. Evid. 801(c)(2)). Here, none of these reports are being

offered for their truth. Defendants are not suggesting—and frankly are not interested—in

whether (1) Glisson, in fact, heard what she claimed to have heard when she spoke to police

officers during the course of the investigation, or (2) Manion and Amor, in fact, discussed what

Manion said they discussed. They are being offered, instead, exclusively for the non-hearsay

purposes described below.

       First, Defendants’ Exhibit 25-Y (attached as Ex. A) memorialized Cunningham’s

testimony that he met with Glisson on September 11 who provided him with information
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regarding Bill and Tina discussing life insurance and Bill talking about owning a home in Iowa.

Cunningham testified to this, but Plaintiff’s counsel aggressively suggested that the date of the

approval date of the report—October 16—meant that the Glisson conversation happened after

Amor’s October 4 confession. Defendants are exclusively offering the report to demonstrate that,

per the report, Glisson did, in fact, provide the information to which Cunningham testified on

September 11.

       This is plainly appropriate, as evidence is “non-hearsay” where it is offered to show that a

contested event actually occurred “at that time” shown in the evidence. Lisker v. City of L.A., No.

CV09-09374 AHM (AJWx), 2012 WL 3588560, at *2 (C.D. Cal. Aug. 20, 2012); see Vellali v.

Yale Univ., No. 3:16-cv-1345(AWT), 2023 WL 3722274, at *2 (D. Conn. May 30, 2023)

(evidence is admissible where “offered for [the] non-hearsay purpose” that a relevant entity was

“engaged in [an act] during the relevant time period”); see also United States v. Williams, 578

Fed. App’x 872, 876 (11th Cir. 2014) (crediting district court finding that if a “‘statement is

being offered to show that it was made at a time and place to an officer, it is not hearsay, because

it is not being offered for its substance, but the fact of its having been made’”).

       This rationale holds true for pages 7 and 8 of Defendants’ Exhibit 25-H—a portion of

Detective Cross’ report (here, Ex. B)—which reflect Cross’ discussions with Tina on September

16 and 18, 1995, and Defendants’ Exhibit 25 W—Detective Sullivan’s October 3, 1995 report

(here, Ex. C). All of these reports concern discussions between NPD officers and Tina regarding

her intention to divorce Amor before he confessed. As such, they are offered as evidence of the

moment in time when that decision was made, which the above-cited cases demonstrate is an

appropriate non-hearsay purpose by which evidence should be admitted.




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       Second, Defendants’ Exhibit 25-Z (attached as Ex. D) is a supplementary report

recounting Michael Mannion’s statements to Defendants, which is being offered exclusively to

corroborate Assistant State’s Attorney Brian Nighosian’s testimony that he did not “make up,” as

Mr. Loevy accused him, the discussion in his November 1, 1995 report documenting Amor’s

statements about his discussions with “Mike” while Amor was in jail about ways to get money

by killing Marianne Miceli. The supplementary report—which carries an approval date of

October 18, 1995, and reflects a conversation date with Mannion of October 9, 1995—quite

clearly demonstrates that Mannion made statements to Defendants confirming his discussions

with Amor. Northern District courts routinely hold that a document offered “merely to

corroborate [a] contention…would constitute a non-hearsay purpose for admissibility.” Brown v.

Morsi, No. 15-cv-4127, 2018 WL 3141761, at *3 n.3 (N.D. Ill. June 26, 2018); see also Pillay v.

Millard Refrigerated Servs., Inc., No. 09-cv-5725, 2012 WL 4498221, at *7 (N.D. Ill. Sept. 28,

2012) (declining to strike transcripts and affidavits as hearsay where the documents were

“offer[ed]…for the non-hearsay purpose of…corroborating [one party’s] position”). Here,

Defendants offer the Mannion report to show that Defendants followed up and corroborated the

information provided by Amor.

       Plaintiff’s counsel has also repeatedly accused Cunningham, Nighosian, and Guerrieri of

misrepresenting when and what they learned from Glisson. Defense Exhibit 25-Y (here, Ex. A)

corroborates the officers’ and attorney’s accounts. Plaintiff suggests that Defendants fabricated

Glisson’s information after-the-fact, but the existence of a report reflecting that the information

was provided on September 11 is plainly admissible for the purpose of corroboration, which is

non-hearsay as a matter of fact and law. (See Ex. A.) Plaintiff’s argument that the October 20

“approval” date on the report supports his position is a matter of weight for the jury—they can



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judge for themselves whether the October 20 approval date outweighs the corroborating

information indicating a conversation took place on September 11—rather than anything that

goes to admissibility

                                       CONCLUSION

       Defendants respectfully request that the Court admit the following defense exhibits into

evidence as non-hearsay: 25-Y, pages 7 and 8 of 25-H, 25-W, and 25-Z.

Date: July 31, 2024                         Respectfully submitted,

                                            /s/ Thomas J. Sotos
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                               CERTIFICATE OF SERVICE

        I hereby certify under penalty of perjury pursuant to 28 U.S.C.A. § 1746 that the
foregoing is true and correct, that on July 31, 2024, I electronically filed the foregoing
Defendants’ Motion In Limine to Admit Four Reports as Non-Hearsay with the Clerk of the
Court using the CM/ECF system, which will send notification of such filing to the CM/ECF
participants listed on the below Service List.

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